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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

 THE STATE OF LOUSIANA,
 By and through its Attorney General,
 Elizabeth B. Murrill;
 THE STATE OF KANSAS,
 By and through its Attorney General,       Case No. 6:25-cv-00076-DCJ-DJA
 Kris W. Kobach;
 THE STATE OF OHIO,
 By and through its Attorney General,
 Dave Yost; and
 THE STATE OF WEST VIRGINIA,
 By and through its Attorney General,
 John B. McCuskey,

               Plaintiffs,

       v.

  UNITED STATES DEPARTMENT OF
  COMMERCE;
  GINA M. RAIMONDO, in her official
  capacity as Secretary of Commerce;
  BUREAU OF THE CENSUS, an agency
  within the United States Department of
  Commerce; and
  ROBERT L. SANTOS, in his official
  capacity as Director of the U.S. Census
  Bureau,

               Defendants.


            [PROPOSED] INTERVENOR-DEFENDANTS’ PROPOSED ANSWER
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                                        INTRODUCTION

        To the extent that the unnumbered paragraphs in the “Introduction” to Plaintiffs’

 Complaint contain factual allegations, Proposed Intervenors deny them.

                                         THE PARTIES

        1.      Paragraph 1 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors admit that Kansas is a State of the United States

 of America and sues through its attorney general and otherwise deny the allegations.

        2.      Paragraph 2 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors admit that Louisiana is a State of the United

 States of America and sues through its attorney general, and otherwise deny the allegations.

        3.      Paragraph 3 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors admit that Ohio is a State of the United States

 of America and otherwise deny the allegations.

        4.      Paragraph 4 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors admit that West Virginia is a State of the United

 States of America and sues through its attorney general and otherwise deny the allegations.

        5.      Admitted.

        6.      Paragraph 6 contains a legal conclusion to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

        7.      Denied.

        8.      Admitted.

        9.      Admitted.




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                                     JURISDICTION AND VENUE

        10.     Paragraph 10 contains a legal conclusion to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

        11.     Paragraph 11 contains a legal conclusion to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

        12.     Paragraph 12 contains a legal conclusion to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

        13.     Paragraph 13 contains a legal conclusion to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

                                           BACKGROUND

        14.     Admitted.

        15.     Admitted.

        16.     Admitted.

        17.     Admitted.

        18.     Admitted.

        19.     Proposed Intervenors admit that the Census Bureau sends questionnaires to

 households as part of the census process. The remaining allegations of Paragraph 19 contain legal

 conclusions to which no response is required. To the extent a response is required, Proposed

 Intervenors deny the allegations.

        20.     Admitted.

        21.     Admitted.

        22.     Proposed Intervenors admit that Paragraph 22 incompletely quotes the cited federal

 regulation but deny that it is a complete quotation.




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        23.     Proposed Intervenors admit that Paragraph 23 incompletely quotes the cited federal

 regulation but deny that it is a complete quotation. The remainder of Paragraph 23 contains legal

 conclusions to which no response is required. To the extent a response is required, Proposed

 Intervenors deny the allegations.

        24.     Admitted.

        25.     Admitted.

        26.     Admitted.

        27.     Proposed Intervenors admit that Paragraph 27 incompletely quotes the cited federal

 regulation but deny that it is a complete quotation.

        28.     Paragraph 28 contains a legal conclusion to which no response is required. To the

 extent a response is required, Proposed Intervenors admit that citizens of foreign countries who

 reside in the United States are counted in the census tally and otherwise deny the allegations.

        29.     Paragraph 29 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors admit that the tabulation of total population

 includes all “persons” in each state and otherwise deny the allegations.

        30.     Paragraph 30 contains a legal conclusion to which no response is required. To the

 extent a response is required, Proposed Intervenors admit that the President must rely on the

 Secretary’s count of the “persons” in each state and otherwise deny the allegations.

        31.     Paragraph 31 contains a legal conclusion to which no response is required. To the

 extent a response is required, Proposed Intervenors admit the first sentence and admit that the

 enumeration must be of all “persons” in each state and otherwise deny the allegations.

        32.     Proposed Intervenors admit that the Residence Rule governed the apportionment

 following the 2020 census but deny that it will apply to the apportionment following the 2030




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 census, and otherwise deny the allegations in Paragraph 32.

        33.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 33 and therefore deny them.

        34.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 34 and therefore deny them.

        35.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 35 and therefore deny them.

        36.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 36 and therefore deny them.

        37.     Admitted.

        38.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in paragraph 38 and therefore deny them.

        39.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 39 and therefore deny them.

        40.     Denied.

        41.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 41 and therefore deny them.

        42.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 42 and therefore deny them.

        43.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 43 and therefore deny them.

        44.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 44 and therefore deny them.




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        45.     Paragraph 45 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

        46.     Proposed Intervenors deny the first sentence of Paragraph 46 and lack sufficient

 knowledge or information to form a belief as to the truth or falsity of the remaining allegations of

 Paragraph 46 and therefore deny them.

        47.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 47 and therefore deny them.

        48.     Proposed Intervenors deny the first sentence of Paragraph 48. The remainder of

 Paragraph 48 contains legal conclusions to which no response is required. To the extent a response

 is required, Proposed Intervenors admit that the quoted language appears in the cited case but

 otherwise deny the allegations.

        49.     Denied.

        50.     Denied.

        51.     Admitted.

        52.     Admitted.

        53.     Admitted.

        54.     Admitted.

        55.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 55 and therefore deny them.

        56.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 56 and therefore deny them.

        57.     Denied.

        58.     Admitted.




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        59.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 59 and therefore deny them.

        60.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 60 and therefore deny them.

        61.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 61 and therefore deny them.

        62.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 62 and therefore deny them.

        63.     Proposed Intervenors deny that the alleged facts involve “representational

 inequality” and otherwise lack sufficient knowledge or information to form a belief as to the truth

 or falsity of the allegations in Paragraph 63 and therefore deny them.

        64.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 64 and therefore deny them.

        65.     Paragraph 65 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

        66.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 66 and therefore deny them.

        67.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 67 and therefore deny them.

        68.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 68 and therefore deny them.

        69.     Denied.

        70.     Admitted.




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        71.     Admit that the quoted excerpt appears in the United States Constitution. The

 remainder of Paragraph 71 is denied.

        72.     Admitted.

        73.     Admit that the quoted excerpt appears in Franklin v. Massachusetts, 505 U.S. 788,

 804 (1992). The remainder of Paragraph 73 contains legal conclusions to which no response is

 required. To the extent a response is required, Proposed Intervenors deny the allegations.

        74.     Denied.

        75.     Denied.

        76.     Denied.

        77.     Denied.

        78.     Denied.

        79.     Denied.

        80.     Denied.

        81.     Admitted.

        82.     Admitted.

        83.     Denied.

        84.     Proposed Intervenors lack sufficient knowledge or information to form a belief as

 to the truth or falsity of the allegations in Paragraph 84 and therefore deny them.

        85.     Paragraph 85 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

        86.     Denied.

        87.     Denied.




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        88.     Paragraph 88 contains legal conclusions and mischaracterizations to which no

 response is required. To the extent a response is required, Proposed Intervenors deny the

 allegations.

        89.     Denied.

        90.     Denied.

        91.     Denied.

        92.     Admitted.

        93.     Proposed intervenors admit the first sentence of Paragraph 93 and deny the second

 sentence of Paragraph 93.

        94.     Denied.

        95.     Denied.

        96.     Admit that the quoted excerpt appears in the cited case. The remainder of Paragraph

 96 contains legal conclusions to which no response is required. To the extent a response is required,

 Proposed Intervenors deny the allegations.

        97.     Admit that the quoted excerpts appear in the cited case. The remainder of Paragraph

 97 contains legal conclusions to which no response is required. To the extent a response is required,

 Proposed Intervenors deny the allegations.

        98.     Denied.

        99.     Denied.

        100.    Denied.

        101.    Denied.

        102.    Denied.

        103.    Denied.




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        104.    Denied.

                                       CLAIMS FOR RELIEF

                                               COUNT I

        105.    Proposed Intervenors incorporate by reference each of their preceding admissions,

 denials, and statements as if fully set forth herein.

        106.    Paragraph 106 contains legal conclusions to which no response is required. To the

 extent a response is required, Proposed Intervenors deny the allegations.

        107.    Proposed Intervenors admit the first sentence of Paragraph 107 and deny the second

 sentence of Paragraph 107.

        108.    Denied.

                                              COUNT II

        109.    Proposed Intervenors incorporate by reference each of their preceding admissions,

 denials, and statements as if fully set forth herein.

        110.    Admitted.

        111.    Proposed Intervenors admit the first two sentences of Paragraph 111 and deny the

 third sentence of Paragraph 111.

                                              COUNT III

        112.    Proposed Intervenors incorporate by reference each of their preceding admissions,

 denials, and statements as if fully set forth herein.

        113.    Admitted.

        114.    Denied.

                                      PRAYER FOR RELIEF

        115.    Proposed Intervenors deny that Plaintiffs are entitled to any relief.




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                                         GENERAL DENIAL

           Proposed Intervenors deny every allegation in the Complaint that is not expressly admitted

 herein.

                                    AFFIRMATIVE DEFENSES

           1.     Plaintiffs’ claims are barred in whole or in part for failure to state a claim upon

 which relief can be granted.

           2.     Plaintiffs’ claims are moot as to the 2020 census and not yet ripe as to any

 subsequent census.

           3.     Plaintiffs’ claims are barred because Plaintiffs lack standing.

           4.     Plaintiffs’ claims are barred because they seek relief inconsistent with federal law

 and the United States Constitution.

           5.     Plaintiffs’ claims are barred by laches.

           6.     Proposed Intervenors reserve the right to assert additional affirmative defenses—

 including, but not limited to, those set forth in Federal Rule of Civil Procedure 8(c)—as additional

 facts are discovered.



 Having fully answered Plaintiffs’ Complaint, Proposed Intervenors pray for judgment as follows:

           A.     That the Court dismiss Plaintiffs’ Complaint;

           B.     That judgment be entered in favor of Proposed Intervenors and against Plaintiffs on

 Plaintiffs’ Complaint and that Plaintiffs take nothing thereby;

           C.     That Proposed Intervenors be awarded reasonable attorneys’ fees and costs under

 any applicable statute or equitable doctrine; and

           D.     For such other and further relief as the Court deems appropriate.




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 Respectfully submitted this 27th day of January, 2025.

 s/ John Adcock                                  s/ David R. Fox

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                                                 * Pro hac vice application forthcoming

                                                 Counsel for Proposed Intervenors




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